\DOO\]O\UI-PWN>-*

N[\)[\.)l\)[\)[\)[\)[\)[\)>-‘>-l)-‘)-¢)-a>-A)-¢)-‘>-¢»-¢
OC\]O\U\-PUJ[\)*-‘O\OOO\]O\U!-I>UJN>-‘C>

Case 2:15-md-02641-DGC Document 10595 Filed 03/30/18 Page 1 of 3

LH.LED ____ LouGEn
___RECEIVED ____ copy
MAR 3 0 2018
E.ERK u s ozsrmct collar

wsmch oF ARuzONA
W DEPuTY

 

   

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

IN RE: Bard IVC Filters Products Liability No. MDL 15-0264l-PHX-DGC

 

Litigation,

Sherr-Una Booker, an individual, No. CV- 1 6-00474-PHX-DGC
Plaintiff,

v.

C. R. Bard, Inc., a NeW Jersey corporation; VERDICT

and Bard Peripheral Vascular, Inc., an
Arizona corporation,

Defendants.

 

 

 

 

We, the jury, duly empaneled and sworn in the above entitled action, upon our
oaths, find as follows:
A. LIABILITY

1. Strict Product Liability Design Defect Claim

Do you find by a preponderance of the evidence that Bard 1/s liable tlc Ms. Booker
on the strict product liability design defect claim? ___ Yes ___ No

2. Strict Product Liability Failure to Warn Claim

Do you find by a preponderance of the evidence that Bard is liable tp Ms. Booker
on the strict product liability failure to Warn claim?___ Yes_X_ No 1

 

\DOO\]O'\Lh-I>L)Jl\.)»-‘

[\)[\)[\)[\)[\)[\)[\)[\)[\))-\>-¢)-i»-¢>-¢)-\)-¢>-¢r-l)-\
OO\lO\Lh-ldb.)l\)>-*O\OOC\IO\§h-l>b)[\)'-*O

 

 

Case 2:15-md-02641-DGC Document 10595 Filed 03/30/18 Page 2 of 3

3. Negligent Design Claim

Do you find by a preponderance of the evidence that Bard 1s liabld to Ms. Booker
on the negligent design claim?_ Yes_Y!_ No `

4. Negligent Failure to Warn Claim

Do you find by a preponderance of the evidence that Bard is liable to Ms. Booker
on the negligent failure to warn claim? ’/ Yes _ No

If you answered “No” to each question in Part A, do not complete Parts B, C,
or D, but please respond to the first question in Part E. lf you answered “Yes” to any
question in Part A, please complete Parts B, C, and D, and respond to the second question

in Part E.

B. COMPENSATORY DAMAGES
If you found Bard liable on any of the claims set forth above, what amount of

damages do you find will reasonably compensate Ms. Booker for her injuriles‘?

s §§ ’@@O(@OO cy (/;< lm([iw\)

C. APPORTIONMENT OF FAULT

l. Do you find by a preponderance of the evidence that negligence on the part
of Dr. Sarwat Amer caused or contributed to Ms. Booker’s injuries?

_>`/_ Yes _ No

2. If you answered “Yes,” please provide the relative degrees of fault, if any,
that you assign to Bard and Dr. Amer (your total must equal 100%):

Bard: B%

Dr. Amer: B%

100%

 

\OOO\]O'\U!-l>u)l\)>-*

[\)l\)l\)l\)[\)[\)!\)[\)[\)>-‘>-‘)-l)-l>-¢)-¢)-¢)-l)-li-¢
OO\]O\Lh-I>WN*-‘O\OOC\]O\MJ>W[\)>-‘O

 

 

Case 2:15-md-02641-DGC Document 10595 Filed 03/30/18 Page 3 of 3

D. PUNITIVE DAMAGES `
Do you find by.clear and convincing evidence that punitive damages should be

awarded against Bard? Yes No

E. SUPERSEDING CAUSE QUESTIONS `
l. If you answered “No” to all of the questions identified in Part A, Was your

finding based on the fact that either of the following was a superseding cause?

Dr. Brandon Kang: Yes No
Other radiologists: Yes No
2. If you answered “Yes” to any question identified in Part A above, did you

reduce the damages awarded in Part B based on the fact that either of the following was a

superseding cause‘?

 

 

Dr. Brandon Kang: Yes ,>( No
Other radiologists: Yes No
fly/l » tr “:,
+/ lLAa/M:Ll 5 o ,i<')/ 3
Presiding Juror Number Date j

 

